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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

David J, Catanzaro, Civil Action — Law
Plaintiff, Case No.: 3:22-C V-01754-JFS-PJC
V. Judge Joseph F. Saporito

Judge Phillip J. Caraballo
Lykart Technologies LLC, et al.,

Defendants.

ORDER

AND NOW, this 12th day of _ May , 2025, upon

consideration of Defendants Apple Inc., Google LLC, YouTube LLC, Microsoft
Corporation, Mozilla Corporation, and Poshmark Inc.’s (collectively, “Moving
Defendants”) Unopposed Motion to Extend Time to Respond to Plaintiff's
Complaint, it is HEREBY ORDERED that said Motion is GRANTED. The deadline
for Moving Defendants to respond to Plaintiffs Fifth Amended Complaint is hereby

extended to June 13, 2025.

BY THE COURT:

Li Em — —-?
&~" Phillip J. Caraballo

Magistrate Judge

